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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA


    (1) DAKOTA VAUGHN,                          §
                                                §
        Plaintiff,                              §
                                                §
         v.                                     §     CASE NO. 6:17-cv-00086-RAW
                                                §
    (1) ARKANSAS EGG COMPANY,                   §
        INC. AND                                §
    (2) VITAL FARMS, INC.                       §
                                                §
        Defendants.

  AGREED ORDER OF DISMISSAL WITH PREJUDICE OF PLAINTIFF’S CLAIMS
     ASSERTED AGAINST DEFENDANT ARKANSAS EGG COMPANY, INC.

       On this day, the Court considered the Joint Motion to Dismiss With Prejudice Claims

Asserted by Plaintiff against Defendant Arkansas Egg Company, Inc. filed by Plaintiff Dakota

Vaughn and Defendant Arkansas Egg Company, Inc. (“Joint Motion”) [Docket No. 66]. After

considering the Joint Motion, the Court finds that the Joint Motion should be GRANTED.

       IT IS THEREFORE, ORDERED, ADJUDGED and DECREED that the claims

raised or that could have been raised by Plaintiff Dakota Vaughn against Defendant Arkansas

Egg Company, Inc. are DISMISSED WITH PREJUDICE. All costs of court are taxed against

the party incurring same.

       Signed this 17th day of August 2017.




                                              Ronald A. White
                                              United States District Judge
                                              Eastern District of Oklahoma



_____________________________________________________________________________________
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AGREED:

DAKOTA VAUGHN                                   ARKANSAS EGG COMPANY, INC.
/s/ William R. Mayo______                        /s/ Vicki Bronson____________________
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ATTORNEY FOR PLAINTIFF                            ATTORNEYS FOR DEFENDANT
ARKANSAS EGG COMPANY, INC.




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